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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                      )
                                              )
   v.                                         )       USDC No. 22-cr-319-01 (RCL)
                                              )
Kimberly Wargo, defendant                     )

                UNOPPOSED MOTION TO WAIVE IN-PERSON HEARING

        Defendant, through undersigned counsel Nathan I. Silver, II, Esq., (“counsel”) appointed

by this Court under the Criminal Justice Act, with no opposition from the United States, moves

the Court to permit the defendant to appear by teleconference instead of in person for her plea

hearing set for Feb. 7, 2023, at 11:30 a.m. The defendant lives and works in the Cleveland,

Ohio, area and it would be a hardship for her to travel here for the plea hearing.

        The defendant has executed a written waiver, as required by Fed.R.Crim.Proc. 43(b),

which is attached as an exhibit to this motion.

        Counsel has advised the government of the defendant's request to appear at the plea

hearing by teleconference.

         A proposed Order is attached.

        WHEREFORE, the defendant respectfully moves the Court to grant said relief.



                                      This pleading is,

                                     Respectfully submitted,

                                              /s/

                                      NATHAN I. SILVER, II
                                      Unified Bar #944314
                                       6300 Orchid Drive
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                               CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
Anita Eve,, Esq., U.S. Dept. of Justice (USAO-ED PA), attorney of record for the government in
the instant case, this 3rd of February, 2023.
                                                 /s/
                                        _______________________________

                                    Nathan I. Silver, II
